Case 2:25-cv-01963-MEF-MAH   Document 284-9   Filed 06/05/25   Page 1 of 8 PageID:
                                   3507




                       Exhibit ,
Case 2:25-cv-01963-MEF-MAH             Document 284-9         Filed 06/05/25       Page 2 of 8 PageID:
                                             3508



 Honorable Michael E. Farbiarz
 United States District Judge
 District of New Jersey
 Martin Luther King Courthouse
 50 Walnut Street
 Newark, NJ 07101

                             DECLARATION OF JOHN RAPHLING

 I, John Raphling, declare as follows:

     1. I am an associate director and researcher for Human Rights Watch’s US Program. I submit
        ťēĖŜϙîôèīÍŘÍťĖĺĲϙťĺϙĖĲċĺŘıϙťēôϙèĺŪŘťϙÍæĺŪťϙťēôϙīĖħôīƅϙĖıŕÍèťŜϙĺċϙťēôϙϙČĺŽôŘĲıôĲťЍŜϙôƯĺŘťŜϙ
        to deport Mahmoud Khalil on the right to free expression throughout the United States,
        especially on university campuses.

     2. Human Rights Watch has serious concerns that the Secretary of State’s invocation of
        “foreign policy grounds” as a basis to deport Mahmoud Khalil serves as a pretext for
        violating his right to free expression under international human rights law and is intended by
        the Secretary to punish and deter protected speech, particularly among international and
        non-US citizen students. 1 This is creating a climate of fear on campuses across the country.

     3. Human Rights Watch (HRW) is an international research and advocacy organization that
        investigates alleged violations of international human rights law throughout the world and
        advocates for accountability for perpetrators, reparations for victims, and changes of policy
        to prevent ongoing and future abuses. 2 HRW has conducted investigations in over 90
        countries, advocating before international bodies, like the United Nations, before local and
        national governments, including on many occasions U.S. Congressional committees, and
        to the public. The United States Program at HRW investigates human rights issues in the US,
        including violations by immigration enforcement agencies and within criminal legal
        systems. 3 The US Program also investigates government actions that may undermine
        democratic processes and institutions.

     4. I have conducted research for the US Program at HRW for over eight years. 4 My primary area
        of expertise is the criminal legal system and systems of government coercion. I have
        researched free expression issues, particularly on US university campuses in the context of
        protests related to the Israeli assault on Gaza. Prior to working for HRW, I was a lawyer for
        over twenty years who represented protesters, political activists, and organizers in civil and
        criminal courts in cases related to their rights to free expression.


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   Human Rights Watch, “United States,” HRW, 2025, https://www.hrw.org/united-states.
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Case 2:25-cv-01963-MEF-MAH                    Document 284-9            Filed 06/05/25         Page 3 of 8 PageID:
                                                    3509


        5. iƯĖèĖÍīŜϙċĺŘϙťēôϙ"ôŕÍŘťıôĲťϙĺċϙFĺıôīÍĲîϙôèŪŘĖťƅϙÍŘŘôŜťôîϙaÍēıĺŪîϙXēÍīĖīϙĺĲϙaÍŘèēϙ͗Ϡϙ
           2025, have detained him since, and seek to deport him, despite his status as a lawful
           permanent resident. 5 The US government has supplied an undated memorandum from
           Secretary of State Marco Rubio invoking the 1952 Immigration and Nationality Act (INA)
           Section 237(a)(4)(C) as a basis for these actions. 6 In the memorandum, the Secretary
           acknowledges that Khalil’s actions, statements and beliefs are lawful, but he “determines”
           that his presence in the US would have “potentially serious adverse foreign policy
           consequences and would compromise a compelling US foreign policy interest.” The
           ôèŘôťÍŘƅϙèĖťôŜϙĲĺϙŜŕôèĖƱèϙÍèťĖĺĲŜϙĺŘϙæôīĖôċŜϠϙæŪťϙēôϙŘôċôŘŜϙťĺϙXēÍīĖīЍŜϙŕÍŘťĖèĖŕÍťĖĺĲϙĖĲϙ
           protests which he claims are “anti-Semitic.” He provides no evidence for this claim,
           although that INA provision requires “reasonable ground” for such a determination. 7

        6. XēÍīĖīϠϙÍīĺĲČϙſĖťēϙťôĲŜϙĺċϙťēĺŪŜÍĲîŜϙĺċϙĺťēôŘϙŜťŪîôĲťŜϠϙċÍèŪīťƅϙÍĲîϙŜťÍƯϠϙŕÍŘťĖèĖŕÍťôîϙĖĲϙ
           protests on US university campuses in the months following the Hamas-led attack on Israel
           on October 7, 2023 ͗, and during Israel’s ongoing military operations in Gaza. As the death
           toll in Gaza has soared amid allegations of grave human rights violations carried out by
           Israeli forces 9, campus protests proliferated and over 3,000 students were
           arrested nationwide in the spring of 2024, though Khalil was not one of them. 10

        7. Opposition to Israel’s actions, to US support for those actions, and to university policies
           ĖĲèīŪîĖĲČϙťēôĖŘϙĖĲŽôŜťıôĲťŜϙĖĲϙèĺıŕÍĲĖôŜϙťēÍťϙŕŘĺƱťϙċŘĺıϙÍæŪŜôŜϙĖĲϙIŜŘÍôīϠϙÍŘôϙīôČĖťĖıÍťôϙ

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   Tsehai Alford, et al., “Palestinian activist Mahmoud Khalil, SIPA ’24, detained by Immigration and Customs
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Case 2:25-cv-01963-MEF-MAH                    Document 284-9              Filed 06/05/25             Page 4 of 8 PageID:
                                                    3510


          political viewpoints, the expression of which is protected by US and international human
          rights law. 11 Such free expression is at the core of a democratic society.

      ͗ϟ As the protest movement grew on college campuses, it ôıôŘČôîϙÍŜϙÍϙƲÍŜēŕĺĖĲťϙîŪŘĖĲČϙťēôϙ
         2024 presidential election. As a candidate, Donald Trump falsely equated protests against
         the Israeli military’s extensive bombardment of Gaza with antisemitism and support for
         terrorism. He threatened “any student that protests, I throw them out of the country.” 12 The
         Republican Party platform included a commitment to “[d]eport pro-Hamas radicals and
         make our college campuses safe and patriotic again.” 13

      9. ŕĺĲϙťÍħĖĲČϙĺƯĖèôϠϙŘôŜĖîôĲť Trump said: “To all the resident aliens who joined in the pro-
         ĤĖēÍîĖŜťϙŕŘĺťôŜťŜϙϣϙſôϙſĖīīϙƱĲîϙƅĺŪϠϙÍĲîϙſôϙſĖīīϙîôŕĺŘťϙƅĺŪϟЋ 14 Following Khalil’s arrest, the
         ĺƯĖèĖÍīϙ®ēĖťôϙFĺŪŜôϙ³ϙÍèèĺŪĲťϙîôèīÍŘôîϙЊēÍīĺıϠϙaÍēıĺŪîЋϙÍĲî announced a campaign
         against “terrorist sympathizers.” 15 Trump personally posted ťēÍťϙЊЀťЁēĖŜϙĖŜϙťēôϙƱŘŜťϙÍŘŘôŜťϙĺċϙ
         many to come.” 16

      10. The Trump administration has claimed ČôĲôŘÍīīƅϠϙÍŜϙĖĲϙXēÍīĖīЍŜϙèÍŜôϙŜŕôèĖƱèÍīīƅϠϙťēÍť
          their right to revoke immigrants’ legal status is based on that same provision of the INA that
          allows the secretary of state to determine that a person’s presence in the country “would
          compromise a compelling United States foreign policy interest.” 17




 11
   International Covenant on Civil and Political Rights (ICCPR), adopted December 16, 1966, G.A. Res. 2200A (XXI), 21
 U.N. GAOR Supp. (No. 16) at 52, UN Doc. A/6316 (1966), 999 UNTS 171, entered into force March 23, 1976, ratified by
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 12 TOI Staff, “Trump says he’ll deport anti-Israel student protesters if elected—report,” Times of Israel, May 28, 2024,

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 13 Donald J. Trump, “2024 GOP Platform: Make America Great Again,” 2024, rncplatform.donaldjtrump.com.
 14 President Donald J. Trump, “Fact Sheet: President Donald J. Trump Takes Forceful and Unprecedented Steps to

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 15 The White House, X posting, March 10, 2025, The White House on X: ""We will find, apprehend, and deport these

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 17 Gaby Del Valle, “Trump is bringing back McCarthyism to go after Mahmoud Khalil,” The Verge, March 12, 2025,

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                                                   3511


      11. DHS Deputy Secretary Troy Edgar cited to “pro-Palestinian activity” as the reason for Khalil’s
          impending deportation and refused to answer whether protesting itself was grounds for
          deportation. ͐͗

      12. There are other recent examples of this arbitrary targeting of people for their viewpoint on
          Palestinian rights. On March 25, 2025, masked and camouflaged federal agents wearing
          black hooded sweatshirts seized Rümeysa Öztürk, a Tufts University doctoral student from
          Türkiye and Fulbright scholar on a student visa, from a public sidewalk near her home in a
          Boston suburb, and took her into custody. 19 The federal government transported her over a
          thousand miles away to a detention center in Louisiana and said it intends to deport
          her. DHS officials alleged that Öztürk “engaged in activities in support of Hamas,”
          apparently because she co-authored an opinion piece 20 in a student newspaper calling on
          Tufts University to “acknowledge the Palestinian genocide” 21 and divest from investments
          connected to Israel. DHS has also sought to arrest and deport Yunseo Chung, a Columbia
          University undergraduate and lawful permanent resident from South Korea who has lived in
          the US since childhood following her arrest during a campus protest. 22

      13. ēôϙÍîıĖĲĖŜťŘÍťĖĺĲЍŜϙĤŪŜťĖƱèÍťĖĺĲŜ for the arrest and planned deportations of Khalil and
          several other students are illegitimate and false and violate international human rights
          law. 23

      14. ēôŜôϙÍèťĖĺĲŜϙŘôƲôèťϙťēôϙÍîıĖĲĖŜťŘÍťĖĺĲЍŜϙlarger pattern of exerting pressure on universities
          to silence protests related to the ongoing hostilities in Gaza. 24 The administration has
          terminated government funding 25 and initiated Department of Justice


 18 Michel Martin and Destinee Adams, “DHS Official Defends Mahmoud Khalil Arrest, But Offers Few Details on Why It

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 19
   Niha Masi, et al., “Tufts student detained by masked officers, video shows,” The Washington Post, March 27,
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 20 Rumeysa Ozturk, et al., “Op-ed: Try again, President Kumar: Renewing calls for Tufts to adopt March 4 TCU Senate

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 22 Jonah E. Bromwich and Hamed Aleaziz, “Columbia Student Hunted by ICE Sues to Prevent Deportation,” New York

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 24 Isaac Arnsdorf and Susan Svrluga, “Trump says pressure on Columbia is only the beginning for college campuses,”

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Case 2:25-cv-01963-MEF-MAH                  Document 284-9             Filed 06/05/25          Page 6 of 8 PageID:
                                                  3512


          investigations 26 against universities it alleges promote antisemitism based on claims that
          they have not suppressed pro-Palestine activism on campus ŜŪƯĖèĖôĲťīƅϟϙiƯĖèĖÍīŜϙēÍŽôϙ
          demanded that universities provide the names and nationalities of protesters and activists
          ťĺϙīÍſϙôĲċĺŘèôıôĲťϙĺƯĖèĖÍīŜϟ 27

      15. ēôϙÍŘŘôŜťϠϙîôťôĲťĖĺĲϠϙÍĲîϙôƯĺŘťŜϙťĺϙîôŕĺŘťϙaÍēıĺŪîϙXēÍīĖīϙÍĲîϙĺťēôŘŜϙēÍŽôϙèŘôÍťôîϙÍϙ
          climate of fear among international students and US citizens who understand that the
          Trump administration seeks to punish people for speaking out in a way the administration
          disagrees with on this important public issue. That threat of punishment has suppressed
          people’s free speech and expression as they seek to avoid drawing attention to themselves.

      16. I am aware of numerous reports from campuses across the US of students, researchers and
          faculty members experiencing pervasive fear in response to the threat of punitive actions
          ôƄôıŕīĖƱôîϙæƅϙťēôϙîôťôĲťĖĺĲϙÍĲîϙŕĺŜŜĖæīôϙîôŕĺŘťÍťĖĺĲϙĺċϙaÍēıĺŪîϙXēÍīĖīϟ ͑͗ Actions taken

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Case 2:25-cv-01963-MEF-MAH                    Document 284-9              Filed 06/05/25          Page 7 of 8 PageID:
                                                    3513


            in response to the threat include, among others, making preparations for arrest every time
            they leave their homes, hiding their identities in public, not attending classes, changing
            career plans, cancelling travel or opting to return to their home countries. International
            students have stopped engaging in classroom discussions about controversial topics,
            particularly Israel and Palestine, declined to attend protest or educational events that they
            otherwise would attend, stopped posting on social media about these topics and removed
            previous posts that might attract attention from the government, stop publishing papers,
            ŜŕôÍħĖĲČϙĺĲϙŕÍĲôīŜϠϙèĺĲîŪèťĖĲČϙŘôŜôÍŘèēϠϙťôÍèēĖĲČϙèīÍŜŜôŜϠϙîôèīĖĲôϙĤĺæϙĺƯôŘŜϠϙÍĲîϙ
            otherwise retreat from speaking out publicly, and even privately.

       17. aƅϙèĺīīôÍČŪôŜϙÍťϙF®ϙſēĺϙŜŕôÍħϙĺĲϙèÍıŕŪŜôŜϙÍæĺŪťϙIŜŘÍôīϙÍĲîϙÍīôŜťĖĲôϙèĺĲƲĖèťϙŘôŕĺŘťϙ
           hearing repeatedly from students raising these same fears and describing similar actions,
           including from students who are US citizens. The silencing of students, researchers, and
           ċÍèŪīťƅϙĲĺťϙĺĲīƅϙēÍŘıŜϙťēĺŜôϙĖĲîĖŽĖîŪÍīŜϠϙĖťϙîôŕŘĖŽôŜϙôŽôŘƅĺĲôϙĺĲϙèÍıŕŪŜϙĺċϙťēôϙæôĲôƱťϙĺċϙ
           their viewpoints and scholarship, diminishing academic freedom and the quality of
           education for all. It discourages foreigners from coming to the US to study, conduct
           research and teach, depriving the country of their contributions. 29

       ͐͗ϟ Punishing people for exercising their rights to free speech and assembly is a violation not
           only of the First Amendment of the US Constitution, but also of the International Covenant
           on Civil and Political Rights (ICCPR)ϠϙſēĖèēϙťēôϙϙŘÍťĖƱôîϙĖĲϙ͐͑͘͘Ϡ including Article 9, which
           forbids arbitrary arrest and detention, Article 19, which protects free expression, and Article
           21, which protects freedom of assembly. 30 Under the ICCPR, noncitizens have these rights
           as well. 31 HRW has documented how authoritarian regimes throughout the world detain,
           deport and otherwise punish critics of government policy in order to silence them. 32


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 30
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 31 UN Human Rights Committee, CCPR General Comment No. 15: The Position of Aliens Under the Covenant (Art 11

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Case 2:25-cv-01963-MEF-MAH                 Document 284-9            Filed 06/05/25        Page 8 of 8 PageID:
                                                 3514




     19. The Trump administration is claiming the authority to punish and remove noncitizen
         îĖŜŜôĲťôŘŜϙÍťϙſĖīīϠϙſĖťēĺŪťϙŕŘĺŽĖîĖĲČϙÍĲƅϙıôÍĲĖĲČċŪīϙĤŪŜťĖƱèÍťĖĺĲϟϙēôŜôϙÍèťĖĺĲŜϙĲĺťϙĺĲīƅϙ
         violate the rights of those being targeted, but by intimidating others into silence, they
         represent a much larger threat to the right of free expression for all people in the US, citizens
         and non-citizens alike.

     20. If the US government succeeds in deporting Mahmoud Khalil, it sends a direct message to
         everyone residing in this country that, if they speak out in a way the administration
         disagrees with on this major public issue, they risk severe consequences.



 I DECLARE
      LA   UNDER PENALTY OF PERJURY THAT THE FORGOING IS TRUE AND
 CORRECT TO THE BEST OF MY KNOWLEDGE AND BELIEF.


         Dated: June 4, 2025


                                                                       ______________________________
                                                                       John Raphling
                                                                       Declarant




 2024, https://www.hrw.org/world-report/2024/country-chapters/egypt; Human Rights Watch, “Turkiye: Free Turkmen
 Activist; Halt Deportation,” HRW, June 3, 2025 https://www.hrw.org/news/2025/06/03/turkiye-free-turkmen-activist-
 halt-deportation.
